Case 1:14-cv-01048-TWP-MJD Document 128 Filed 03/31/16 Page 1 of 3 PageID #: 1355
     Case: 16-1454   Document: 00712730693      Filed: 03/31/2016  Pages: 2      (2 of 3)



        UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



  Everett McKinley Dirksen United States Courthouse                                     Office of the Clerk
          Room 2722 - 219 S. Dearborn Street                                           Phone: (312) 435-5850
               Chicago, Illinois 60604                                                 www.ca7.uscourts.gov




                                           NOTICE OF ISSUANCE OF MANDATE
   March 31, 2016


                 Laura A. Briggs
  To:
                 UNITED STATES DISTRICT COURT
                 Southern District of Indiana
                 United States Courthouse
                 Indianapolis , IN 46204-0000



                                           GOPICHAND VALLABHANENI, on behalf of himself and all others
                                           similarly situated,
                                           Plaintiff - Appellant

   No. 16-1454
                                           v.

                                           ENDOCYTE, INC., et al.,
                                           Defendants - Appellees

   Originating Case Information:

   District Court No: 1:14-cv-01048-TWP-MJD
   Southern District of Indiana, Indianapolis Division
   District Judge Tanya Walton Pratt
  Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
  certified copy of the opinion/order of the court and judgment, if any, and any direction as to
  costs shall constitute the mandate.


    TYPE OF DISMISSAL:                                           F.R.A.P. 42(b)



    STATUS OF THE RECORD:                                        no record to be returned
Case 1:14-cv-01048-TWP-MJD Document 128 Filed 03/31/16 Page 2 of 3 PageID #: 1356
     Case: 16-1454   Document: 00712730693      Filed: 03/31/2016  Pages: 2      (3 of 3)




  NOTE TO COUNSEL:
  If any physical and large documentary exhibits have been filed in the above-entitled cause, they are
  to be withdrawn ten (10) days from the date of this notice. Exhibits not withdrawn during this period
  will be disposed of.

  Please acknowledge receipt of these documents on the enclosed copy of this notice.

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   Received above mandate and record, if any, from the Clerk, U.S. Court of Appeals for the
   Seventh Circuit.

   Date:                                                Received by:


            3/31/2016
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Case 1:14-cv-01048-TWP-MJD Document 128 Filed 03/31/16 Page 3 of 3 PageID #: 1357
     Case: 16-1454   Document: 00712730692      Filed: 03/31/2016  Pages: 1      (1 of 3)



       UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



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          Room 2722 - 219 S. Dearborn Street                                          Phone: (312) 435-5850
               Chicago, Illinois 60604                                                www.ca7.uscourts.gov




   March 31, 2016



  By the Court:


                                           GOPICHAND VALLABHANENI, on behalf of himself and all others
                                           similarly situated,
                                           Plaintiff - Appellant

   No. 16-1454
                                           v.

                                           ENDOCYTE, INC., et al.,
                                           Defendants - Appellees

   Originating Case Information:

   District Court No: 1:14-cv-01048-TWP-MJD
   Southern District of Indiana, Indianapolis Division
   District Judge Tanya Walton Pratt

   Upon consideration of the STIPULATION OF VOLUNTARY DISMISSAL, filed on March
   31, 2016, by counsel for the appellant and counsel for the appellees,

   IT IS ORDERED that this case is DISMISSED, pursuant to Federal Rule of Appellate
   Procedure 42(b).



   form name: c7_FinalOrderWMandate(form ID: 137)
